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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 AMERICAN OVERSIGHT,

 ​        Plaintiff,

 v.
                                                      Civil Action No. 1:25-cv-719-TSC
 U.S. AGENCY FOR INTERNATIONAL
 DEVELOPMENT, et al.,

 ​        Defendants.



                          DECLARATION OF WILLIAM FISCHER

I, William Fischer, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

      1.​ This declaration is based on my personal knowledge and information provided to me in

my official capacity by others.

      2.​ I am currently the Acting Chief Records Officer (“CRO”) for the U.S. government,

National Archives and Records Administration (“NARA”), having been appointed to this

position by the former Archivist of the United States, Dr. Colleen Shogan, effective July 15,

2024. Since January 12, 2025, I have concurrently served as NARA’s Executive for Agency

Services and Acting Director of the National Declassification Center. Prior to taking on these

roles, I served in a variety of archival roles at NARA, including Director of the National

Declassification Center from 2019 to 2025, Acting Director of the Information Security

Oversight Office from 2023 to 2024, Senior Records Analyst from 2005 to 2008, and Archives

Specialist from 1998 to 2005. In those positions I was responsible for overseeing the

coordination and development of agency declassification processes and training; leading

standardization and management of classified and controlled unclassified information; and


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supporting federal records and information management processes. Between 2008 and 2019, I

served in a number of records and information management positions at the Department of State,

including Agency Records Officer, Chief of Declassification, and Deputy Director of the Office

of Information Programs and Services. I hold a Bachelor of Arts degree in History from the

University of Montana, a Master of Arts in History from Montana State University, and a Doctor

of Philosophy in History from The Catholic University of America.

   3.​ In my present position as the Acting CRO, I lead records management throughout the

federal government, with an emphasis on electronic records. I am responsible for issuing federal

records management guidance; liaisoning with the Office of Management and Budget, the U.S.

Congress, the U.S. Government Chief Information Officers Council, and other stakeholders on

records management issues; and serving as an ombudsman between agencies and the Archivist to

ensure that NARA and the federal agencies it serves meet their respective statutory mandates and

records management requirements.

   4.​ NARA is an independent agency created in 1934 to identify, protect, preserve, and make

publicly available the historically valuable records of all three branches of the federal

government. Among other responsibilities, NARA provides oversight of government-wide

records management activities. NARA is responsible for overseeing agencies’ adequacy of

documentation and records disposition programs and practices. NARA also establishes

standards for the retention of records having continuing value (permanent records), and assists

federal agencies in applying the standards to records in their custody.

   5.​ On March 11, 2025, NARA was made aware of an allegation of unauthorized disposition

of USAID records from various sources.




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    6.​ In responding to these allegations, NARA followed its standard procedures for addressing

allegations of the unlawful removal or destruction of records, which are outlined at 36 C.F.R. §§

1230.1-§ 1230.18.

    7.​ On March 11, 2025, NARA opened an Unauthorized Disposition (UD) case regarding the

allegations of the unlawful destruction of records by USAID, and labeled it UD-2025-0047.

    8.​ In accordance with 36 C.F.R. § 1230.16(a), NARA called USAID’s Agency Records

Officer (ARO) on March 11, 2025 about the allegations. The USAID ARO stated that USAID

was not improperly destroying records but rather:

    (a)​ assessing classified safes throughout the Ronald Reagan building to consolidate records,

    (b)​properly separating non-records from actual records,

    (c)​ disposing of only non-records which includes reference materials, copies, drafts, and

        deliberative unclassified/classified documents that staff printed as supporting meeting

        materials, and

    (d)​consolidating actual records requiring preservation into a classified vault.

    9.​ By email dated March 12, 2025, NARA acknowledged the information provided by

USAID’s ARO during the phone call and stated that it would “follow up with formal

correspondence per the requirements of 36 CFR 1230.”

    10.​On March 14, 2025, NARA sent the USAID ARO a letter1 requesting that USAID

provide NARA with a report within 30 days containing the following information:

    (a)​ A complete description of the records with volume and dates if known;

    (b)​The office maintaining the records;




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 NARA has published the letter on its website, at
https://www.archives.gov/files/records-mgmt/resources/ud-2025-0047-usaid-open.pdf.


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   (c)​ A statement of the exact circumstances surrounding the removal, defacing, alteration, or

       destruction of records;

   (d)​A statement of the safeguards established to prevent further loss of documentation; and

   (e)​ When appropriate, details of the actions taken to salvage, retrieve, or reconstruct the

       records.

   11. The letter also requested that if USAID concludes that “no records were improperly

destroyed,” it “provide sufficient documentation to support that finding.”

I declare that the foregoing is true and correct to the best of my knowledge.

Dated: March 14, 2025




                  ​       ​       ​          ____________________________
                                              William Fischer
                                              Acting Chief Records Officer for the U.S.
                                              Government
                                              National Archives and Records Administration
                                              College Park, Maryland




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